         Case 1:20-cv-11501-RGS Document 90 Filed 08/08/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 JENNIFER ROOT BANNON, as the Special
 Personal Representative of the Estate of
 Juston Root,

        Plaintiff,

        v.
                                                 Civil Action No. 1:20-cv-11501-RGS
 BOSTON POLICE OFFICERS DAVID
 GODIN, JOSEPH McMENAMY, LEROY
 FERNANDES, BRENDA FIGUEROA, and
 COREY THOMAS;                                   HEARING REQUESTED

 MASSACHUSETTS STATE TROOPER
 PAUL CONNEELY; and

 THE CITY OF BOSTON,
 MASSACHUSETTS;

        Defendants.


                      PLAINTIFF’S NOTICE OF MANUAL FILING OF
                      SUMMARY JUDGMENT EXHIBITS 19–27 ON CD

       In support of her Motion for Partial Summary Judgment, Plaintiff Jennifer Root Bannon

(“Plaintiff’) manually filed a CD containing Exhibits 19–27. These exhibits are video files that

cannot be e-filed through the CM/ECF system. In addition, attached to the Declaration of Alison

T. Holdway, Plaintiff e-filed slip sheets corresponding with Exhibits 19–27 that explain that the

videos were submitted to the Court on a CD.
       Case 1:20-cv-11501-RGS Document 90 Filed 08/08/22 Page 2 of 2




Dated: August 8, 2022                    Respectfully submitted,

                                         PLAINTIFF JENNIFER ROOT BANNON,

                                         By her attorneys,

                                         /s/ Mark A. Berthiaume
                                         Mark A. Berthiaume (BBO # 041715)
                                         Gary R. Greenberg (BBO # 209420)
                                         Alison T. Holdway (BBO # 690569)
                                         Courtney R. Foley (BBO # 707181)
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